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                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

TOM HEANEY                                     *           CIVIL ACTION

VERSUS                                         *           NUMBER: 14-2104

CHRISTOPHER L. ROBERTS, ET AL                  *           SECTION: “A” (5)
*    *    *     *    *     *                   *

                     PLAINTIFFS’ LIST OF WITNESSES AND EXHIBITS

       NOW INTO COURT, through undersigned counsel, comes plaintiff who, pursuant to the

scheduling order of this Honorable Court, submits the following lists of witnesses who may be

called at the trial of the above referenced matter:

               1.      Tom Heaney

               2.      Christopher Roberts, under cross-examination

               3.      Ronald Black, under cross-examination

               4.      Deborah Foshee, under cross-examination

               5.      Christopher Fortmayer, under cross-examination

               6.      Danielle Rodriguez, under cross-examination

               7.      Deano Bonano, under cross-examination

               9.      Betty Purcell
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      10.   Brian Smith

      11.   Dr. David Beck

      12.   Dr. Nicole Bergeron

      13.   Dr. Ernest Sneed

      14.   Maria Rios

      15.   Charlene McKee

      16.   Dr. Thao Dola

      17.   Dr. Robert Perret

      18.   Thaddeus Erato

      19.   Alicia Thornton

      20.   Keisha Vinnett

      21.   Shelita Gould

      22.   Ashanti Santa Cruz

      23.   Jorge Pesquera

      24.   Brett Rotharmel

      25.   Randolph Roig

      26.   Adriana Rosero-Enriquez

      27.   Carol Zeno

      28.   Kylineetra Stansberry

      29.   Phillip Nguyen

      30.   Kiersta Kurtz-Burke




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               31.      Charisma Carter-Quinn

               32.      Todd Layman

               33.      Eissa Hazim

               34.      Alexis Carimi

               35.      Daniel Denis

               36.      Michael Francis

               37.      Charles Smith

               38.      Brenda Dusang

               39.      Dawn Cooper

       Plaintiffs reserve the right to supplement this Witness List as discovery continues.

       Additionally, plaintiffs submit the following list of exhibits which they may offer into

evidence at the trial of the above captioned matter:

       1.      Plaintiff’s medical records from Tulane Hospital Emergency Room

       2.      Plaintiff’s medical records from Southeast Louisiana Veterans Health Care

               System

       3.      Videotape of plaintiff’s appearance before Parish Council on September 18, 2013

       4.      Plaintiff’s medical records from Dr. David Beck

       5.      Plaintiff’s medical records from Gretna Police Department ambulance

       6.      Plaintiff’s prescription records related to incident

       7.      Videotape from surveillance cameras in Jefferson Parish Government Building

               for September 18, 2013




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       8.      Plaintiff’s medical bills related to incident

       9.      Plaintiff’s medical records from Ochsner Hospital

       10.     Plaintiff’s medical records from the VA

       11.     Any exhibit listed by any other party

       Plaintiff reserves the right to supplement this Exhibit List as discovery continues.

                                      Respectfully submitted,



\s\ Brett J. Prendergast                               \s\ Michael G. Riehlmann
Brett J. Prendergast, 17755 (T.A.)                     Michael G. Riehlmann #02072
4603 S. Carrollton Avenue                              4603 S. Carrollton Avenue
New Orleans, Louisiana 70119                           New Orleans, La. 70119
Telephone: (504) 593-9277                              504-957-2788
Fax: (504) 523-2362
brett_p_1999@yahoo.com


                                 CERTIFICATE OF SERVICE

       I hereby certify that on July1, 2017 I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record. I further certify that there are no non-CM/ECF participants in this case.


                                               \s\ Brett J. Prendergast
                                               Brett J. Prendergast, 17755
                                               4603 S. Carrollton Avenue
                                               New Orleans, Louisiana 70112
                                               Telephone: (504) 593-9277
                                               Fax: (504) 523-2362
                                               brett_p_1999@yahoo.com




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